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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

GENE P. BONVILLAIN, ETC.,                                CIVIL ACTION   
              
VERSUS                                                   N0. 09‐3540 & consol cases
                                                         Filed in: 
                                                         09‐3540, 09‐3541, 09‐5781,
                                                         09‐5782, 09‐5783, 09‐5784,
                                                         09‐5789, 09‐5790, 09‐5793,
                                                         09‐5795, 09‐5802 & 09‐5803

LOUISIANA LAND & EXPLORATION                             SECTION ʺCʺ (2)
CO., ET AL.     

                                 ORDER AND REASONS

       IT IS ORDERED that the motions to dismiss first amended complaints filed by

the defendants are GRANTED.   (Rec. Docs. 401, 402, 403, 404, 405, 408, 410, 400, 406,

407, 399, 409).   

       The Court previously granted the defendantʹs motions to dismiss the plaintiffʹs

complaints on March 29, 2010.  (Rec. Doc. 384).   The Court concluded its order with the

following:

               IT IS FURTHER ORDERED that the plaintiff shall file any amended
               complaint responsive to the issue of standing, the allegations of fraud and
               diversity jurisdiction within ten days, at which time this order of dismissal
               becomes effective.

Rec. Doc. 384, p. 33).  In each first amended complaint filed in response to that order,
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the plaintiff alleges two claims: one for recovery of delinquent taxes and one for fraud.

       With regard to the  plaintiffʹs lack of standing, the Court had previously

explained in its final ʺAMENDMENTʺ section of its reasons that the plaintiff had

represented that the dismissal based on standing did not contribute to judicial economy

because the proper party ʺwill file suits on the same grounds.ʺ  (Rec. Doc. 384, p. 30). 

According to the plaintiff: 

              Even if the Court were to agree with them that the proper party to bring
              suit is the Sheriff of Terrebonne Parish and consequently were to dismiss
              Count I on that ground, a new suit  brought by the sheriff on precisely the
              same grounds will be forthcoming within days or weeks,  absent the
              Courtʹs granting Plaintiff leave to amend.



Rec. Doc. 311, p. 12.   Based on this representation, the Court allowed for amendment to

substitute the proper party plaintiff.   The  substitution contemplated by Fed. R. Civ. P.

17 and foreseen by the plaintiff  in his opposition was not made in the first amended

complaints.   Instead, the Court is presented with virtually the same allegations and

deficiencies with regard to the real party in interest, capacity to sue and standing in the

first amended complaints. 

       Further, the plaintiff has not cured deficiencies concerning diversity of

citizenship in at least two of these consolidated cases.    In the case against Stone Energy

Corporation, Civ. Act. No. 09‐5793 ʺCʺ, the plaintiff alleges that the corporation is

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incorporated under Delaware law, but makes no statement as to its principal place of

business which, according to affidavit supplied by Stone, is in Louisiana.  Rec. Doc. 393,

¶  2; Rec. Doc. 406, Exh. A).   Similarly, the citizenship of Charparral Energy L.L.C. in

Civ. Act. No. 09‐5803 ʺCʺ is given as ʺan entity organized and having its principal place

of business in a state other than Louisianaʺ in the first amended complaint, despite the

Courtʹs direction to consider the rules of citizenship set forth in Harvey v . Grey Wolf

Drilling Co., 542 F.3d 1077 (5th Cir. 2008).  (Rec. Doc. 384, pp. 30‐31; Rec. Doc. 396, ¶ 2).1




       New Orleans, Louisiana, this 26th day of July, 2010.




                                                   ________________________
                                                   HELEN G. BERRIGAN
                                                   UNITED STATES DISTRICT JUDGE




       1
        The plaintiff has sufficiently remedied the deficiencies with respect to the fraud
allegations but still lacks standing to bring suit.

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